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             UNITED STATES BANKRUPTCY COURT FOR THE
                    DISTRICT OF MASSACHUSETTS
______________________________
                              )
IN RE:                        )
      RICHARD M. SHOVE & )                    CHAPTER 7
      KATHLEEN E. SHOVE, )                    CASE #17-31052-EDK
                      Debtors )
______________________________)

                          NOTICE OF TRUSTEE’S REQUEST
                   FOR AUTHORITY TO ABANDON REAL PROPERTY
                     (51-53 ORCHARD STREET, PITTSFIELD, MA)

To: The Office of the U.S. Trustee and all parties of interest:


       1. Notice is hereby given that Jack E. Houghton, Jr., the duly appointed, Chapter 7
Trustee in the above captioned bankruptcy case (“Trustee”), pursuant to 11 U.S.C. Sec. 554
seeks authority to abandon certain real property of this bankruptcy estate.

       2. The property is located at 51-53 Orchard Street, Pittsfield, Massachusetts
(“Property”).

       3. That in support of the abandonment, the Trustee represents:

       (a)     Upon information and belief, this Property has no equity which is beneficial to the
               estate.

       (b)     Upon information and belief, Ocwen Loan Servicing, LLC is the servicer of a
               first mortgage on the Property held by Wells Fargo Bank, NA, successor by
               merger to Wells Fargo Bank Minnesota, N.A., as Trustee f/k/a Northwest Bank
               Minnesota, N.A., as Trustee for Delta Funding Home Equity Loan Trust 1998-1.
               The payoff of the first mortgage exceeds $93,000.

       (c)     The Debtors opined in their Bankruptcy Schedules that the Property had a fair
               market value of $77,700.00.

       (d)     The Property is not the Debtors’ residence.

       (e)     The Trustee has examined the exterior of the Property and found it to be in a
               deplorable condition making it a liability to the estate, and with a fair market
               value well below the first mortgage payoff.
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Dated: February 13, 2018                     /s/ Jack E. Houghton, Jr.
                                             Jack E. Houghton, Jr., Esq.
                                             Chapter 7 Trustee
                                             78 Bartlett Avenue
                                             Pittsfield, MA 01201
                                             (413) 447-7385
                                             BBO #241040
                                             JHoughtonJr@aol.com
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            UNITED STATES BANKRUPTCY COURT FOR THE
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IN RE:                        )
      RICHARD M. SHOVE & )                   CHAPTER 7
      KATHLEEN E. SHOVE, )                   CASE #17-31052-EDK
                      Debtors )
______________________________)

                                CERTIFICATE OF SERVICE

        I, Jack E. Houghton, Jr., Chapter 7 Trustee in the above mentioned Chapter 7 hereby
certify that I have, this day, sent a copy of Notice Of Trustee’ Request For Authority To
Abandon Real Property (51-53 Orchard Street, Pittsfield, MA) by electronic filing and/or by first
class mail, postage prepaid, to the following as well as those listed on the attached Service List:

Office of the U.S. Trustee                           Orlans PC
446 Main Street                                      PO Box 540540
14th Floor                                           Waltham, MA 02454
Worcester, MA 01608                                  Attn: Stephanie E. Babin, Esq.

Debtors:
Richard M. Shove &
Kathleen E. Shove
P.O. Box 392
Lenox, MA 01240

Attorney for the Debtor:
Carrie Naatz, Esq.
1012 Memorial Avenue
West Springfield, MA 01089



Dated: February 13, 2018                               /s/ Jack E. Houghton, Jr.
                                                     Jack E. Houghton, Jr., Trustee
                                                     78 Bartlett Avenue
                                                     Pittsfield, MA 01201
                                                     (413) 447-7385
                                                     JhoughtonJr@aol.com
